              Case 24-12152-amc                        Doc         Filed 04/14/25 Entered 04/14/25 08:59:25                                 Desc Main
   Fill in this information to identify the case:                  Document      Page 1 of 7
Debtor 1                 Selma E. Garrett
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             2412152
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             2­1
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                            06/01/2025
                                                                                                                                             _____________


                                                                                                  New total payment:
                                                                                                                                             1285.33
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      1 ____
                                                                    ____ 6 ____
                                                                            5 ____
                                                                                4

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           328.95
                Current escrow payment: $ _________________                                                                       362.11
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
            Selma E. Garrett                                                                     2412152
      Case 24-12152-amc                Doc Filed     04/14/25 Entered 04/14/25
            ________________________________________________________
      Debtor 1
            First Name       Middle Name     Last Name
                                                                          Case number (if08:59:25         Desc Main
                                                                                         known) ______________________

                                            Document           Page 2 of 7
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Mavis B Evans
      ______________________________________________________________
      Signature
                                                                                      04/14/2025
                                                                                Date _______________




 Print:______________________________________________________________
        Evans, Mavis B                                                           VP of Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            P.O. Box 1629
            _____________________________________________________________
            Address 2

             Minneapolis                             MN      55440-9790
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeofPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
           Case 24-12152-amc           Doc        Filed 04/14/25 Entered 04/14/25 08:59:25                    Desc Main
                                                  Document
                      UNITED STATES BANKRUPTCY COURT            Page 3 of 7

                                                   Eastern District of Pennsylvania


                                                    Chapter 13 No. 2412152
                                                    Judge: Ashely M. Chan

In re:
Selma E. Garrett
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before April 15, 2025 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     Selma E. Garrett
                                     7317 Malvern Avenue

                                     Philadelphia PA 19151-2210



                                   By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     N/A




Debtor’s Attorney:                  By Court's CM/ECF system registered email address
                                    MICHAEL A. CIBIK
                                    Cibik Law, P.C.
                                    1500 Walnut Street Suite 900

                                    Philadelphia PA 19102


                                    By Court's CM/ECF system registered email address
                                    N/A




Trustee:                            By Court's CM/ECF system registered email address
                                     SCOTT F. WATERMAN [Chapter 13]
                                     Chapter 13 Trustee
                                     2901 St. Lawrence Ave. Suite 100

                                     Reading PA 19606

                                                         _______________________________________________
                                                         /s/Mavis B Evans
                                                         VP of Loan Documentation
                                                         Wells Fargo Bank, N.A.
          Case 24-12152-amc                 Doc        Filed 04/14/25 Entered 04/14/25 08:59:25 Desc Main
                  Return Mail Operations               Document      Page 4 ofEscrow
                                                                               7     Review Statement
                  PO Box 14547                                                            For informational purposes only
                  Des Moines, IA 50306-4547
                                                                                          Statement Date:                                     April 8, 2025
                                                                                          Loan number:
                                                                                          Property address:
                                                                                               7317 MALVERN AVE
                                                                                               PHILADELPHIA PA 19151


                                                                                          Customer Service
                                                                                                 Online                          Telephone
                                                                                                 wellsfargo.com                  1-800-340-0473
          SELMA GARRETT
                                                                                                 Correspondence                  Hours of operation
          7317 MALVERN AVE                                                                       PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          PHILADELPHIA PA 19151-2210                                                             Des Moines, IA 50306
                                                                                                 To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                   We accept telecommunications relay service calls



If you are in an active bankruptcy case or have received a discharge under the United
States Bankruptcy Code, this statement is being sent to you for informational
purposes only. The informational summaries below are based on the terms of the
loan.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
                                                                                             The escrow account has a shortage of
will be enough money to make these payments. Once the review is complete, we send                         $221.17
the escrow review statement, also known as the escrow account disclosure statement.

Here's what we found:
  • Required Minimum Balance: The escrow account balance is projected to fall
     below the required minimum balance. This means there is a shortage.

   • Payments: As of the June 1, 2025 payment, the escrow portion of the payment
     increases.



 Part 1 - Mortgage payment

     Option 1                  Pay the shortage amount over 12 months
                                Previous payment through New payment beginning with
                                05/01/2025 payment date   the 06/01/2025 payment
                                                                                              Option 1: No action required
Principal and/or interest                 $923.22                   $923.22

Escrow payment                            $328.95                   $362.11               Starting June 1, 2025 the new payment amount
Total payment amount
                                                                                          will be $1,285.33
                                        $1,252.17               $1,285.33

     Option 2                  Pay the shortage amount of $221.17

                                Previous payment through New payment beginning with
                                05/01/2025 payment date   the 06/01/2025 payment
                                                                                             Option 2: Pay shortage in full
Principal and/or interest                 $923.22                   $923.22

Escrow payment                            $328.95                   $343.68               Starting June 1, 2025 the new payment amount
Total payment amount                                                                      will be $1,266.90
                                        $1,252.17               $1,266.90




                                                  See the following pages for more detail.


                                        If you are in an active bankruptcy case or have received a discharge under the United States
                                        Bankruptcy Code, this coupon is being provided for informational purposes only. If your Chapter
                                        13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage payments,
                                        please contact your attorney or the Trustee’s office before directly sending any amounts relating
                                        to this escrow shortage.

                                                                  If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                  and mail it along with a check for $221.17 to the address that appears on this coupon.
  SELMA GARRETT
                                                                  This payment must be received no later than June 1, 2025.


              Wells Fargo Home Mortgage
              PO Box 77036
              Minneapolis, MN 55480-7736




        936                            7 10 02 00125217 00126690 00147334 00022117 9
                                                                                                                                                Page 2 of 3
           Case 24-12152-amc                  Doc        Filed 04/14/25 Entered 04/14/25 08:59:25
                                                                                                Loan Desc Main
                                                                                                     Number:
                                                         Document      Page 5 of 7
     Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $4,124.23. For the coming year, we expect the amount paid from escrow to be
$4,124.23.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                         New monthly
                                     06/24 - 05/25 07/24 - 06/25             10/24 - 04/25    06/25 - 05/26
                                                                                                                        # of               escrow
                                       (Actual)      (Actual)                  (Actual)        (Projected)
                                                                                                                       months              amount

Property taxes                              $1,219.23         $1,219.23          $1,219.23       $1,219.23      ÷         12        =          $101.60
Property insurance                         $2,905.00         $2,905.00           $2,905.00      $2,905.00       ÷         12        =         $242.08
Total taxes and insurance                  $4,124.23         $4,124.23           $4,124.23       $4,124.23      ÷         12        =         $343.68
Escrow shortage                                $3.66             $0.00              $0.00         $221.17       ÷         12        =           $18.43**

Total escrow                               $4,127.89         $4,124.23           $4,124.23      $4,345.40       ÷         12        =         $362.11


**
    This amount is added to the payment if Option 1 on page 1 is selected.


Projected escrow account activity over the next 12 months

To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 4 - Escrow account projections
Lowest projected escrow balance April 2026                                           $20.17          table)

Bankruptcy adjustment‡                                                 +           $446.03

Minimum balance for the escrow account†                                -           $687.37


Escrow shortage                                                        =           -$221.17


‡
 This adjustment of $446.03, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance as allowed by state laws and/or the mortgage
contract. This account is set to a 2 month cash reserve amount. To calculate the cash reserve for the escrow account, we add the yearly escrow
payments, and divide by 6.
             Case 24-12152-amc                Doc         Filed 04/14/25 Entered 04/14/25 08:59:25 Desc Main Page 3 of 3
                                                          Document      Page 6 of 7              Loan Number:



  Part 3 - Escrow account history
Escrow account activity from August 2024 to May 2025
                    Deposits to escrow                    Payments from escrow                                                     Escrow balance
   Date        Actual  Projected Difference           Actual   Projected Difference                Description           Actual       Projected Difference
Aug 2024                                                                                   Starting Balance               -$982.39
Sep 2024        $308.64                                   $0.00                                                           -$673.75

Oct 2024        $308.64      $328.95       -$20.31        $0.00       $0.00       $0.00                                   -$365.11     $2,631.53     -$2,996.64

Nov 2024        $925.92      $328.95      $596.97         $0.00       $0.00       $0.00                                    $560.81     $2,960.48     -$2,399.67

Dec 2024        $308.89      $328.95      -$20.06         $0.00       $0.00       $0.00                                   $869.70      $3,289.43     -$2,419.73

Jan 2025          $0.00      $328.95      -$328.95        $0.00       $0.00       $0.00                                   $869.70      $3,618.38     -$2,748.68

Feb 2025        $328.95      $328.95        $0.00         $0.00       $0.00       $0.00                                  $1,198.65     $3,947.33     -$2,748.68

Mar 2025        $328.95      $328.95        $0.00     $1,219.23   $1,328.34     -$109.11 PHILADELPHIA CITY                $308.37      $2,947.94     -$2,639.57

Mar 2025          $0.00          $0.00      $0.00     $2,905.00       $0.00    $2,905.00 AMERICAN MODERN INS GRP        -$2,596.63     $2,947.94     -$5,544.57

Apr 2025       $2,631.60     $328.95     $2,302.65        $0.00   $2,619.00    -$2,619.00 AMERICAN MODERN INS               $34.97      $657.89       -$622.92
(estimate)                                                                                GRP

May 2025        $328.95      $328.95        $0.00         $0.00       $0.00       $0.00                                    $363.92      $986.84       -$622.92
(estimate)

Totals         $5,470.54   $2,631.60     $2,530.30    $4,124.23   $3,947.34      $176.89


If the activity contains (estimate), then "deposits to" or "payments from" escrow or both are estimated amounts that have not actually occurred.



  Part 4 - Escrow account projections
Escrow account projections from June 2025 to May 2026
                                          What we
                 Payments to              expect to                                                              Projected escrow        Balance required
Date               escrow                  pay out          Description                                              balance              in the account
May 2025                                                    Starting balance                                            $363.92                $1,031.12
Jun 2025              $343.68                    $0.00                                                                  $707.60                $1,374.80
Jul 2025              $343.68                    $0.00                                                                 $1,051.28               $1,718.48
Aug 2025              $343.68                    $0.00                                                                 $1,394.96               $2,062.16
Sep 2025              $343.68                    $0.00                                                                 $1,738.64               $2,405.84
Oct 2025              $343.68                    $0.00                                                                $2,082.32                $2,749.52
Nov 2025              $343.68                    $0.00                                                                $2,426.00                $3,093.20
Dec 2025              $343.68                    $0.00                                                                $2,769.68                $3,436.88
Jan 2026              $343.68                    $0.00                                                                 $3,113.36               $3,780.56
Feb 2026              $343.68                    $0.00                                                                 $3,457.04               $4,124.24
Mar 2026              $343.68                 $1,219.23     PHILADELPHIA CITY                                          $2,581.49               $3,248.69
Apr 2026              $343.68                $2,905.00      AMERICAN MODERN INS GRP                                      $20.17                    $687.37
May 2026              $343.68                    $0.00                                                                  $363.85                $1,031.05

Totals               $4,124.16               $4,124.23




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Case 24-12152-amc   Doc   Filed 04/14/25 Entered 04/14/25 08:59:25   Desc Main
                          Document      Page 7 of 7
